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AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 1             (NOTE: Identify changes with Asterisks (*))

                                      United States District Court
                                       SOUTHERN DISTRICT OF ALABAMA
         UNITED STATES OF AMERICA                                         AMENDED JUDGMENT IN A CRIMINAL CASE
                            V.
                 PATRICK LETT
                                                                          CASE NUMBER: 05-00266-WS
Date of Original Judgment: 4/13/2006                                      USM NUMBER: 09226-003
(or date of Last Amended Judgment)
                                                                             Douglas Cole
                                                                          Defendant's Attorney

Reason for Amendment:
(X) Correction of Sentence on Eleventh Circuit Court Mandate         () Modification of Imposed Term of Imprisonment for
                                                                              Extraordinary and Compelling Reasons (18:3582(c)(1))

THE DEFENDANT:
(X)    pleaded guilty to count(s) 5,7,8,9,10,11, & 12 .
()     pleaded nolo contendere to count(s)       which was accepted by the court.
()     was found guilty on count(s)      after a plea of not guilty.
The defendant is adjudicated guilty of the following offenses:
                                                                                            Date Offense                Count
Title & Section                      Nature of Offense                                      Concluded                   No.(s)
21:841(a)(1)                        possession with intent to distribute                    2/24/2004                         Five
                                    crack cocaine
21:841(a)(1)                        possession with intent to distribute                    3/1/2004                          Seven
                                    cocaine
21:841(a)(1)                        possession with intent to distribute                    3/3/2004                          Eight
                                    cocaine
21:841(a)(1)                        possession with intent to distribute                    3/10/2004                         Nine
                                    crack cocaine
21:841(a)(1)                        possession with intent to distribute                    3/17/2004                         Ten
                                    crack cocaine
21:841(a)(1)                        possession with intent to distribute                    3/24/2004                         Eleven
                                    crack cocaine
21:841(a)(1)                        possession with intent to distribute                    4/1/2004                          Twelve
                                    crack cocaine

The defendant is sentenced as provided in pages 2 through        of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
()      The defendant has been found not guilty on count(s)     .
(X)     Count(s) 1 [one] is/are dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and the United States attorney of any material change in the
defendant's economic circumstances.

                                                                     s/William H. Steele
   February 27, 2009                                                 UNITED STATES DISTRICT JUDGE
Date of Imposition of Judgment
                                                                     March 5, 2009
                                                                     Date
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                                                                                                        Judgment 2
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 2 - Imprisonment
Defendant: PATRICK LETT
Case Number: 05-00266-WS

                                                 IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 60 months as to Cts. 5, 7-12 to run concurrently .

             ()      Special Conditions:

             ()      The court makes the following recommendations to the Bureau of Prisons:



    (X) The defendant is remanded to the custody of the United States Marshal.
    ()      The defendant shall surrender to the United States Marshal for this district:
             ()      at       a.m./p.m. on        .
             ()      as notified by the United States Marshal.

    ()      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
            Prisons:
             ()      before 2 p.m. on        .
             ()       as notified by the United States Marshal.
             ()       as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:




Defendant delivered on                           to                            at
with a certified copy of this judgment.

                                                                               UNITED STATES MARSHAL


                                                                          By
                                                                                      Deputy U.S. Marshal
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                                                                                                        Judgment 3
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: PATRICK LETT
Case Number: 05-00266-WS
                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE
(3) YEARS as to each of Counts Five and Seven; and FIVE (5) YEARS as to each of Counts Eight,
Nine, Ten, Eleven and Twelve; said terms to run concurrently, for a total supervised release term
of FIVE (5) YEARS .

(X) Special Conditions: The defendant shall participate in a program of testing and treatment
        for drug and/or alcohol abuse as directed by the Probation Office.




        For offenses committed on or after September 13, 1994: The defendant shall refrain from
        any unlawful use of a controlled substance. The defendant shall submit to one drug test
        within 15 days of release from imprisonment and at least two periodic drug tests thereafter,
        as directed by the probation officer.
        ()      The above drug testing condition is suspended based on the court’s determination that the defendant
                poses a low risk of future substance abuse. (Check, if applicable)

()      The defendant shall register with the state sex offender registration agency in the state where the defendant
        resides, works, or is a student, as directed by the probation officer. (Check, if applicable)

()      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)


(X) The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that
the defendant pay any such fine or restitution that remains unpaid at the commencement of the term of
supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment. The defendant shall report to the probation office in the district to which
the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court
(Probation Form 7a).
The defendant shall also comply with the additional conditions on the attached page (if applicable).


                                    See Page 4 for the
                         "STANDARD CONDITIONS OF SUPERVISION"
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                                                                                                            Judgment 4
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: PATRICK LETT
Case Number: 05-00266-WS
                                        SUPERVISED RELEASE
                           STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report
        within the first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
        probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
        training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by
a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any
        person convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a
        law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
        agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
        defendant's criminal record or personal history or characteristics, and shall permit the probation officer to
        make such notifications and to confirm the defendant's compliance with such notification requirement;

14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable, under
        the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying offenses.
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                                                                                                           Judgment 5
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties
Defendant: PATRICK LETT
Case Number: 05-00266-WS
                                      CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth on Sheet 5, Part B.

                                Assessment                  Fine                 Restitution
          Totals:               $ 700.00 - see below        $0.00                $0.00
                  $100.00 as to each of Counts Five, Seven, Eight, Nine, Ten, Eleven and Twelve

()        The determination of restitution is deferred until    . An Amended Judgment in a Criminal Case
          (AO 245C) will be entered after such a determination.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment
unless specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all non-federal victims must be paid in full prior to the United
States receiving payment.

()        The defendant shall make restitution (including community restitution) to the following payees in
          the amounts listed below.

Name(s) and                                *Total                    Amount of                       Priority Order
Address(es) of Payee(s)                    Amount of Loss            Restitution Ordered           or % of Payment




          TOTALS:                          $                         $

()        If applicable, restitution amount ordered pursuant to plea agreement. $
()       The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to 18 U.S.C. § 3612(g).


()        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     ()       The interest requirement is waived for the() fine and/or () restitution.
     ()       The interest requirement for the    () fine and/or () restitution is modified as follows:


     * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United
     States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                                                                                                Judgment 6
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments
Defendant: PATRICK LETT
Case Number: 05-00266-WS
                                       SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due
as follows:

    A        (X) Lump sum payment of $ 700.00 due immediately, balance due
             () not later than       , or () in accordance with () C, () D, () E or () F below; or
    B        () Payment to begin immediately (may be combined with () C, () D, () E or () F below); or
    C        () Payment in      (e.g., equal, weekly, monthly, quarterly) installments of $    over a
             period of      (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date
             of this judgment; or
    D        () Payment in        (e.g., equal, weekly, monthly, quarterly) installments of $        over a
             period of     (e.g., months or years), to commence           (e.g., 30 or 60 days) after release
             from imprisonment to a term of supervision; or
    E        () Payment during the term of supervised release will commence within        (e.g., 30 or 60
             days) after release from imprisonment. The court will set the payment plan based on an
             assessment of the defendant's ability to ay at that time; or
    F        () Special instructions regarding the payment of criminal monetary penalties:

    Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a
    period of imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment.
    All criminal monetary penalty payments, except those payments made through the Federal Bureau of Prisons'
    Inmate Financial Responsibility Program, are to be made to the clerk of court, unless otherwise directed by the
    court, the probation officer, or the United States attorney.

    The defendant will receive credit for all payments previously made toward any criminal monetary penalties
    imposed.

    ()       Joint and Several:
    ()       The defendant shall pay the cost of prosecution.
    ()       The defendant shall pay the following court cost(s):
    ()       The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine
principal; (5) fine interest; (6) community restitution; (7) penalties; and (8) costs, including cost of prosecution and court
costs.
